                       Case 5:05-cr-00008-RSB-BWC Document 60 Filed 06/11/15 Page 1 of 1
AO 247 (10/11) Order Regarding Motion for Sentence Rcductiou Pirstont to 18 U, S.C. § 3582(c)(2)                                    Page I of   (Page 2 Not for Poblic Disclosure)




                                                                  UNITED STATES DISTRICT COURT
                                                                                  for the
                                                                        Southern District of Georgia
                                                                            Waycross Division

                        United States of America                                          )
                                                V.                                        )
                                                                                          )  Case No: 5:05-CR-00008-2
                               Mark Ashley Griffin
                                                                                          ) USMNo: 12245-021
Date of Original Judgment:        December 14. 2005                                       ) Harty D. Dixon. Jr.
Date of Previous Amended Judgment: Not Applicable                                         ) Defendant's Attorney
(Use Date of Lass Amended Judgment, /f any,


                                                 Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)


        Upon motion of         the defendant                       F1
                                                  the Director of the Bureau of Prisonsthe court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG § 1B1.10 and
the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
    DENIED.  GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in the lasifudgment
             issued) of 110 months is reduced to                          70 months


                                                         (Complete Paris I and 11 of Page 2 when motion is granted)



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Except as otherwise provided above, all provisions of the judgment dated December 14. 2005,                                 shall remain in effect,
IT IS SO ORDERED.

Order Date:
                                                                                                                   JUdgVIIt



                                                                                               William T. Moore, Jr.
                                                                                               Judge, U.S. District Court
Effective Date: November 1, 2015                                                               Southern District of Georgia
                          (if different from order date)                                                        Printed name and title
